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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 ALBANY DIVISION


CASSANDRA MARSHALL, individually    :
AND APONDREA MARSHALL,              :
individually and as next friend of  :
CASSANDRA MARSHALL,                 :
                                    :
      Plaintiffs,                   :
                                    :
v.                                  :                 CASE NO.: 1:09-CV-156 (WLS)
                                    :
JYOTIR MEHTA, M.D., et al.,         :
                                    :
      Defendants.                   :
____________________________________:


                                             ORDER

       Before the Court are Plaintiffs’ Motion for Remand (Doc. 12) and Plaintiffs’ Motion for

Voluntary Dismissal Without Prejudice (Doc. 13). For the following reasons, Plaintiffs’ Motion

for Remand (Doc. 12) and Plaintiffs’ Motion for Voluntary Dismissal Without Prejudice (Doc.

13) are GRANTED.

       On October 23, 2009, this matter was removed from state court to this Court by action of

Defendant American Red Cross, Southeast Division. (Doc. 1). Plaintiffs’ Motion for Remand

(Doc. 12) states that this matter’s sole basis for federal jurisdiction is the inclusion of American

Red Cross, Southeast Division, as a Defendant. (Doc. 12 at 2; see Doc. 1). Accordingly,

Plaintiffs’ Motion for Dismissal Without Prejudice (Doc. 13) moves the Court to dismiss

Defendant American Red Cross, Southeast Division, which would effectively eliminate this

matter’s federal nexus.    (See Doc. 12 at 2).       Consequently, because all bases for federal

jurisdiction will have been severed, Plaintiffs assert that remand to state court would be




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appropriate. (Doc. 12 at 2). None of the ten (10) Defendants1 have responded in opposition to

Plaintiffs’ two motions (see Docket), and the time for response under the Local Rules has

expired. See M.D. Ga. Local R. 7.2.

           Federal Rule of Civil Procedure 41 provides that if Answers have already been filed in a

matter – which is the case here (see Docs. 2 to 8) – and if no stipulation of dismissal has been

signed by all parties who have appeared – which is also the case here – then “an action may be

dismissed at the plaintiff’s request only by court order, on terms that the court considers proper”

and “[u]nless the order states otherwise, a dismissal under this paragraph (2) is without

prejudice.”      Fed. R. Civ. P. 41(a).        Given that Plaintiffs’ Motion for Voluntary Dismissal

Without Prejudice (Doc. 13) is unopposed by any Defendant (see Docket), that Defendant

American Red Cross, Southeast Division purportedly agrees to the dismissal (Doc. 13 at ¶ 3),

and that no Defendants have stated that they will be prejudiced by the dismissal of Defendant

American Red Cross, Southeast Division and subsequent removal to state court, the Court finds

Plaintiffs’ Motion for Voluntary Dismissal Without Prejudice (Doc. 13), on the terms suggested

by Plaintiffs, to be proper.

           Therefore, Plaintiffs’ Motion for Voluntary Dismissal Without Prejudice (Doc. 13) is

GRANTED, and Defendant American Red Cross, Southeast Division is DISMISSED

WITHOUT PREJUDICE. Also, Plaintiffs’ Motion for Remand (Doc. 12) is GRANTED, and




1
           The Court notes that Defendant Palmyra Park Hospital Inc. was terminated on November 13, 2009. (See
Docket).


                                                        2
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the above-captioned matter is ORDERED to be REMANDED to the state court from which it

was removed. Each Party shall bear its own costs.



       SO ORDERED, this 8th day of January, 2010.


                                           /s/ W. Louis Sands________________
                                           THE HONORABLE W. LOUIS SANDS,
                                           UNITED STATES DISTRICT COURT




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